                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

COALITION FOR GOOD
GOVERNANCE, et al.,
                             Plaintiffs,

       v.                                  No. 1:21-cv-02070-JPB

BRIAN KEMP, in his official
capacities as Governor of the State of
Georgia, et al.,
                           Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,
          Intervenor-Defendants.


       INTERVENOR-DEFENDANTS’ NOTICE OF JOINDER OF
       STATE DEFENDANTS’ SUMMARY JUDGMENT MOTION
      Republican Intervenor-Defendants join the State Defendants’ motion for

summary judgment as to counts I, II, and III of Plaintiffs’ complaint and their

arguments supporting dismissal of those claims on the merits. See Doc. 123-1

at 22-29, 31.




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Dated: July 17, 2023               Respectfully submitted,

                                   /s/ Cameron T. Norris

Cameron T. Norris*                 William Bradley Carver, Sr.
CONSOVOY MCCARTHY PLLC               Georgia Bar No. 115529
1600 Wilson Boulevard, Suite 700   Baxter D. Drennon
Arlington, Virginia 22209            Georgia Bar No. 241446
(703) 243-9423                     Jake Evans
                                     Georgia Bar No. 797018
Tyler R. Green*                    HALL BOOTH SMITH, P.C.
CONSOVOY MCCARTHY PLLC             191 Peachtree Street NE, Suite 2900
222 S. Main Street                 Atlanta, Georgia 30303
5th Floor                          (404) 954-5000
Salt Lake City, UT 84101           (404) 954-5020 (Fax)
(703) 243-9423

*admitted pro hac vice




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           CERTIFICATE OF SERVICE AND CERTIFICATE
             OF COMPLIANCE WITH LOCAL RULE 5.1
      Pursuant to N.D. Ga. L.R. 5.1(C), I prepared the foregoing in Century

Schoolbook font and 13-point type. I electronically filed it using CM/ECF, thus

electronically serving all counsel of record.


Dated: July 17, 2023                    Respectfully submitted,

                                        /s/ Cameron T. Norris

Cameron T. Norris*                      William Bradley Carver, Sr.
CONSOVOY MCCARTHY PLLC                    Georgia Bar No. 115529
1600 Wilson Boulevard, Suite 700        Baxter D. Drennon
Arlington, Virginia 22209                 Georgia Bar No. 241446
(703) 243-9423                          Jake Evans
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CONSOVOY MCCARTHY PLLC                  191 Peachtree Street NE, Suite 2900
222 S. Main Street                      Atlanta, Georgia 30303
5th Floor                               (404) 954-5000
Salt Lake City, UT 84101                (404) 954-5020 (Fax)
(703) 243-9423

*admitted pro hac vice
                       Counsel for Intervenor-Defendants




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